       Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 1 of 9 PageID #:1655




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

PEIQIONG LI,
                                                              Case No. 24-cv-03326
                   Plaintiff,
                                                              Judge Sara L. Ellis
v.
                                                              Magistrate Judge Gabriel A. Fuentes
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                   Defendants.

                                PRELIMINARY INJUNCTION ORDER

            Plaintiff Peiqiong Li (“Peiqiong Li”) filed a Motion for Entry of a Preliminary

    Injunction against the against the fully interactive, e-commerce stores1 operating under the

    seller aliases identified in Schedule A to the Complaint and attached hereto (collectively,

    “Defendants”) and using at least the domain names identified in Schedule A (the “Defendant

    Domain Names”) and the online marketplace accounts identified in Schedule A (the “Online

    Marketplaces”). After reviewing the Motion and the accompanying record, this Court

    GRANTS Peiqiong Li’s Motion in part as follows.

            This Court finds Peiqiong Li has provided notice to Defendants in accordance with the

    Temporary Restraining Order entered May 7, 2024, [DOCKET NO. 15] (“TRO”), and Federal

    Rule of Civil Procedure 65(a)(1).

            This Court also finds, in the absence of adversarial presentation, that it has personal

    jurisdiction over Defendants because Defendants directly target their business activities toward

    consumers in the United States, including Illinois. Specifically, Peiqiong Li has provided a

    basis to conclude that Defendants have targeted sales to Illinois residents by setting up and


1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
  Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 2 of 9 PageID #:1656




operating e-commerce stores that target United States consumers using one or more seller

aliases, offer shipping to the United States, including Illinois, and have sold products infringing

Peiqiong Li’s federally registered patent (the “Peiqiong Li Patent”) to residents of Illinois. In

this case, Peiqiong Li has presented screenshot evidence that each Defendant e-commerce store

is reaching out to do business with Illinois residents by operating one or more commercial,

interactive internet stores through which Illinois residents can and do purchase products using

counterfeit versions of the Peiqiong Li Patent. See Docket Nos. 12, 12-1, which includes

screenshot evidence confirming that each Defendant e-commerce store does stand ready,

willing and able to ship its counterfeit goods to customers in Illinois in violation of Peiqiong

Li’s Patent.

       This Court also finds that the injunctive relief previously granted in the TRO should

remain in place through the pendency of this litigation and that issuing this Preliminary

Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence submitted in

support of this Motion and in support of Peiqiong Li’s previously granted Motion for Entry of

a TRO establishes that Peiqiong Li has demonstrated a likelihood of success on the merits; that

no remedy at law exists; and that Peiqiong Li will suffer irreparable harm if the injunction is

not granted.

       Specifically, Peiqiong Li has proved a prima facie case of patent infringement because

the Defendants incorporate the patented design of the D’311 patent to an article of manufacture.

Additionally, Defendants are not licensed or authorized to use the Peiqiong Li Patent.

Furthermore, Defendants’ continued and unauthorized use of the Peiqiong Li Patent irreparably

harms Peiqiong Li through diminished goodwill and brand confidence, damage to Peiqiong

Li’s reputation, loss of exclusivity, and loss of future sales. Monetary damages fail to address


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     Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 3 of 9 PageID #:1657




such damage and, therefore, Peiqiong Li has an inadequate remedy at law. Moreover, the public

interest is served by entry of this Preliminary Injunction to dispel the public confusion created

by Defendants’ actions. Accordingly, this Court orders that:

1.       Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

         for, with, by, through, under, or in active concert with them be preliminarily enjoined and

         restrained from:

         a. using the Peiqiong Li Patent or any reproductions, counterfeit copies, or colorable

            imitations in any manner in connection with the distribution, marketing, advertising,

            offering for sale, or sale of any product that is not a genuine Peiqiong Li product or

            not authorized by Peiqiong Li to be sold in connection with the Peiqiong Li Patent;

         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Peiqiong Li product or any other product produced by Peiqiong Li, that is not

            Peiqiong Li’s or not produced under the authorization, control, or supervision of

            Peiqiong Li and approved by Peiqiong Li for sale under the Peiqiong Li Patent;

         c. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control, or supervision of Peiqiong

            Li, or are sponsored by, approved by, or otherwise connected with Peiqiong Li; and

         d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Peiqiong Li, nor authorized by

            Peiqiong Li to be sold or offered for sale, and which infringe Peiqiong Li’s Patent.

2.       Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

         any of Defendants’ financial accounts.


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     Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 4 of 9 PageID #:1658




3.       Upon Peiqiong Li’s request, Defendants and any third party with actual notice of this

         Order who is providing services for any of Defendants, or in connection with any of

         Defendants’ Online Marketplaces, including, without limitation, any online

         marketplace platforms such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd.

         (“Alibaba”), Amazon.com, Inc., ContextLogic Inc. d/b/a Wish.com (“Wish.com”), and

         Dhgate (collectively, the “Third Party Providers”), shall, within seven (7) calendar days

         after receipt of such notice, provide to Peiqiong Li expedited discovery, limited to

         copies of documents and records in such person’s or entity’s possession or control

         sufficient to determine:

         a. the identities and locations of Defendants, their officers, agents, servants,

            employees, attorneys, and any persons acting in active concert or participation with

            them, including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment

            for services, and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, including Defendants’ sales and listing history related to their respective

            Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their officers,

            agents, servants, employees, attorneys, and any persons acting in active concert or

            participation with them, including such accounts residing with or under the control

            of any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay,

            Wish.com, Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay,


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     Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 5 of 9 PageID #:1659




            or other merchant account providers, payment providers, third party processors, and

            credit card associations (e.g., MasterCard and VISA).

4.       Upon Peiqiong Li’s request, those with notice of this Order, including the Third Party

         Providers as defined in Paragraph 3, shall within seven (7) calendar days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods using the

         Peiqiong Li Patent.

5.       Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial,

         Wish.com, and Amazon Pay, shall, within seven (7) calendar days of receipt of this

         Order:

         a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

            not limited to, any financial accounts connected to the information listed in

            Schedule A hereto, the e-mail addresses identified below, and any e-mail addresses

            provided for Defendants by third parties; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further order by this Court.

6.       Peiqiong Li may provide notice of the proceedings in this case to Defendants, including

         service of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

         electronically publishing a link to the Pleadings, this Order, and other relevant

         documents on a website and by sending an e-mail with a link to said website to any e-

         mail addresses provided for Defendants by third parties. The Clerk of the Court is

         directed to issue a single original summons in the name of “aftsparepartsau and all other

         Defendants identified in the Operative Complaint” that shall apply to all Defendants.


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      Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 6 of 9 PageID #:1660




          The combination of providing notice via electronic publication and e-mail, along with

          any notice that Defendants receive from payment processors, shall constitute notice

          reasonably calculated under all circumstances to apprise Defendants of the pendency

          of the action and afford them the opportunity to present their objections.

 7.       Plaintiff’s Schedule A to the Complaint [DOCKET NO. 4], Exhibit 1 to the Declaration

          of Peiqiong Li and Exhibit 2 to Declaration of Kevin Keener [DOCKET NOs. 12

          through 12-2] , and the TRO [DOCKET NO. 15] are unsealed.

 8.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

          the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

          and the Northern District of Illinois Local Rules. Any third party impacted by this Order

          may move for appropriate relief.

 9.       The $10,000 bond posted by Peiqiong Li shall remain with the Court until a final

          disposition of this case or until this Preliminary Injunction is terminated.

                                                               SO ORDERED:


                                                               ______________________________
                                                               SARA L. ELLIS
                                                               United States District Judge
Dated: May 22, 2024




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  Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 7 of 9 PageID #:1661




                                          Schedule A

Doe      Merchant Name                     Merchant ID         Merchant Email
  1      aftsparepartsau                          1770945266    sincmp-usa@hotmail.com
  2      Alex's                                   2441575643     mwhitt@ucstealth.com
         Warehouse/alexswarehouse

  3      alpesauto                                2157270554      jg2020008@126.com
  4      ANTS PART                           A2H2GLZJS0U7K0    outdoordeal@hotmail.com
  5      AutekComma                         A35WICGBYWN60R     105334476@qq.com
  6      auto-parts-afsal5808/afsal5808           2504858285      afsalesino@163.com

  7      AUTOBIGBROTHER                           2530202881   autogoodbrother@outlook.c
                                                                          om
  8      autogalaxy/autogalaxy1                   2156884556      jg2020004@163.com

  9      BAOHUAFZ                            A2VYFXXFAPGTZ6    baohuafz@hotmail.com
  10     BougeRV                                     N/A       bougerv@outlook.com
  11     Cargo bar                           A2P18LS0NS3QZ7    kuwei666888@163.com
  12     CHAUTO2023/changhaoxw                    2493393951     czjpsm2023@163.com

  13     CHEINAUTO Direct                    A2BTV2X6VIM8OD    s7rhfgy@163.com
  14     choiceness-                              2558846199    gaogaodeo@outlook.com
         auto/choicenessauto

  15     daily-auto/daliyauto                     2540338265   amberwang1998@outlook.c
                                                                         om
  16     earthauto                                2156897237      jg2020008@163.com
  17     Echo-autohome/echoautohome               2533541470    millo888ctt@outlook.com



  18     hsauto_shop/Epoch_auto/auror             2530196182   qxn13057153805@outlook.c
         aautoshop                                                       om

  19     fc-auto/fcauto                           2422423654     2050479954@qq.com
  20     fengYu                             A24AWYCYQ7BC7O     610932877@qq.com
  21     FJshengrong                         A1XNLTVA5XQ0D8    fjshengrong@hotmail.com
  22     Gaea Auto                           A4R2OA9YDX60A     gaeaauto@126.com
  23     Gemmauto-                                2523034332     czjmauto@outlook.com
         Shoppingmall/gemmautoshoppi
         ngmall
  24     newstart-                                2531384611   yyqxgyl981201@outlook.co
         auto/Hsbf_auto/hsbfauto                                          m



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Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 8 of 9 PageID #:1662



25     julau-                               2531042237    czhs888yyk@outlook.com
       auto/Hsbif_autohome/hsbifauto
       home
26     hsmotorefit                          2549993547     czjmasjx@outlook.com
27     Hspeed_shop/hspeedshop               2530716277     wjjdauto@outlook.com

28     Hspeede_auto/hspeedeauto             2539420226     1040067134@qq.com

29     HTXauto                         A3GPGOMQCS8MBV    18101506617@163.com

30     Huray                           A3APA9MS2AVP76    huray1209@163.com
31     IKABEVEM                        A3DNISPU997NPR    ikabevem@outlook.com
32     ISSYAUTO                        A3HFUC27WX97EL    issyzonesmart@gmail.com

33     jupiterauto                          2156890591      jg2020006@163.com
34     Kemimoto-UTV/marspluto04             1392203344   marspluto2004@outlook.co
                                                                    m
35     longhongauto                         1632628353       23688647@qq.com
36     longye_auto/longyeauto               1958364936     1765955871@qq.com

37     maxking                              2527582019    czyz526888@outlook.com

38     milliontons                          1762830852   milliontons2018@hotmail.co
                                                                      m
39     baodanking_auto/mocho-               2498535952   newautoparts19990608@ou
       auto/mochoauto                                            tlook.com

41     motorsportplus                       1448097243    henrychain@outlook.com
42     motorvehicle                         1647600665     motorkuikui@163.com
43     mt08usa                              2548415953     lmf0801@outlook.com
44     mtan08parts                          2548721431    mitan23456@outlook.com
45     Mysterion_Auto/mysterionauto         2445368762    mysterion1996@126.com

46     neptuneauto                          2156893473      jg2020007@163.com
47     novoauto                             1989452960      everestcar@163.com
48     ns-turbo-auto/nsturboauto            2213124867    wxwsyjhaa@outlook.com

49     OCPTY AutoParts                 A38Z7WLHOKZL2H    gonghaijun2014@outlook.co
                                                         m
51     PARUQS-Auto/iceyz75                  2402544275     junnberoy@outlook.com

52     rao jintang                     A1IWGB4982OFGA    qiandd66@126.com
53     Roadrunnerauto_shop/roadrun          2528942987    czjmautoctt@outlook.com
       nerautoshop


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Case: 1:24-cv-03326 Document #: 32 Filed: 05/22/24 Page 9 of 9 PageID #:1663



54     salelifter                          1811294442   salelifter2018@hotmail.com

55     Sandyshop01                    A22LLNEDE2CVJ0    wkhjs756@163.com
56     Scitoo Auto                    A3GW5CKPDHE2JH    zhaoyuscitoo@outlook.com

57     Seattle Design/seattledesign        1888882073       yintatech@163.com



58     Shouxinda                              N/A       gxl30002@163.com
59     sinocmppartsusa                     2356877891    blue27681349@163.com
60     small_target-                       2288405727   small_target@outlook.com
       auto/smalltargetauto
61     smotorparts                         1561403596    chancingparts@gmail.com

62     sport-motor/sportmotor              1434717071     yintasport@outlook.com

65     summitteile                         1837541665    office2@jongerparts.com
66     tangying_auto-                      2528953801    czjmautogyl@outlook.com
       Auto/whisperauto
67     The KitsPro                    A3MLIH1T4EHC9P    ngqp002@163.com
69     topsinoauto                         2498785795   chb_sinautopart2@163.com

70     Tuntrol                        A2B0XBD8KAFJYM    justbike0701@outlook.com

71     tw-auto-parts/twautoparts           2160933347     lilin2224@outlook.com

72     tw2-auto-parts/tw2autoparts         2163734970   pengcheng0713@outlook.co
                                                                   m
73     TYZ AUTO PARTS                 A9HIRRBZM065V     3511014065@qq.com
74     universeparts/multiautoparts        2156880611      jg2020003@163.com

75     vogue-auto/vogueauto                2503320602   vogueauto123@outlook.com

76     YARLGIA                        A26ZJHON4O9PA9    zitonghuaiji5@126.com
77     YIXI-Auto/yxinauto                  2130683848    czyixin1218@outlook.com

78     YTAUTOPARTS                    A1ZAQM5K0NM959    ytauto_amazing@hotmail.co
                                                        m
79     ZDKK                           A1AZBV6445WMJJ    zhaoshugongsw@outlook.co
                                                        m




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